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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
GERALD BUSH,               :
    Plaintiff,             :
                           :
     v.                    :                          CIVIL ACTION NO. 20-CV-5631
                           :
PHILADELPHIA REDEVELOPMENT :
UTHORITY, et al.           :
     Defendants.           :

                                             ORDER

       AND NOW, this 8th day of January, 2021, upon consideration of Plaintiff Gerald Bush’s

Motion to Proceed In Forma Pauperis (ECF No. 5), and his pro se Complaint (ECF No. 1), it is

ORDERED that:

       1.      Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

       2.      The Complaint is DISMISSED as frivolous and malicious pursuant to 28 U.S.C.

§ 1915(e)(2)(B)(i) for the reasons discussed in the Court’s Memorandum.

       3.      The Clerk of Court is DIRECTED to close this case.

       4.      No later than February 5, 2021, Bush shall SHOW CAUSE by filing a “Response

to Show Cause Order” not to exceed ten pages, stating why the Court should not enjoin him from

filing any more civil actions concerning the identical, untimely allegations he has raised in this

case as well as Civil Action No. 18-5659, namely claims based on Bush’s alleged ownership or

other interest in the property located at 5108 Chester Avenue in the City of Philadelphia and

brought against the Philadelphia Redevelopment Authority and/or its employees.

                                              BY THE COURT:

                                              /s/ C. Darnell Jones, II
                                              C. Darnell Jones, II J.
